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 5   Attorney for DUNG NGUYEN
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,             No. Cr. S. 09-222 TLN
10
                    Plaintiff,             REQUEST FOR ORDER AND ORDER
11
                                           EXONERATING BOND
          vs.
12                                         Judge: Hon. TROY L. NUNLEY
     DUNG NGUYEN,
13
                    Defendant.
14

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16        On or about October 7, 2009, a $75,000 appearance bond,
17   $40,000 of which was secured by a deed of trust against the real
18
     property of Suong Tran, located at 10428 Donner Avenue,
19
     Stockton, CA 95209, in San Joaquin County, was posted on behalf
20
     of Dung Nguyen in case 09-222 TLN (then numbered as 09-222 GEB).
21

22   [See ECF documents 91, 92 and 93.]

23        On August 16, 2013, Dung Nguyen was surrendered in to
24   federal custody.
25
          Because Mr. Nguyen is now in custody, it is hereby
26
     requested that the $75,000 appearance bond, $40,000 of which was
27
     secured by a deed of trust against the real property of Suong
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 1   Tran, located at 10428 Donner Avenue, Stockton, CA 95209, be
 2
     exonerated in the above-captioned case and that the Clerk of the
 3
     District Court be directed to reconvey back to the Trustors (San
 4
     Joaquin County Recorders) the deed of trust received by the
 5
     Clerk on or about October 7, 2009.
 6

 7        DATED:   September 4, 2013     Respectfully submitted,

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 9
                                         /s/ Michael D. Long___
10                                       Michael D. Long
                                         Attorney for Dung Nguyen
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12        IT IS HEREBY ORDERED that the bail bond in the amount of
13
     $75,000 appearance bond, $40,000 of which was secured by a deed
14
     of trust against the real property of Suong Tran, located at
15
     10428 Donner Avenue, Stockton, CA 95209, is hereby exonerated.
16

17   The Clerk of the District Court is hereby ordered to reconvey

18   back to the Trustors (San Joaquin County Recorders) the deed of
19
     trust received by the Clerk on or about October 7, 2013.
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     DATED: September 4, 2013.
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